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 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,
                                                         CASE NO. 1:21-CR-00115-DAD-BAM
11                           Plaintiff,
12                                                       MOTION AND ORDER TO UNSEAL
              v.                                         INDICTMENT
13
     WESLEY TSUKAMOTO et al.,
14                  Defendant.
15

16           The Indictment in this case, having been sealed by Order of the Court on April 29, 2021, and it

17 appears that it no longer need remain secret as to the listed defendants,

18           The United States of America, by and through Phillip A. Talbert, Acting United States Attorney,

19 and Stephanie M. Stokman, Assistant United States Attorney, hereby moves that the attached redacted

20 Indictment in this case, and the docket as to defendant Antoinette Mager be unsealed and made public

21 record.

22
      Dated: May 8, 2021                                     PHILLIP A. TALBERT
23                                                           Acting United States Attorney
24

25                                                    By: /s/ Stephanie M. Stokman
                                                          STEPHANIE M. STOKMAN
26                                                        Assistant United States Attorney
27

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      MOTION AND PROPOSED ORDER TO UNSEAL                1
30
           Case 1:21-cr-00115-ADA-BAM Document 57 Filed 05/11/21 Page 2 of 2

 1                        IN THE UNITED STATES DISTRICT COURT FOR THE

 2                                 EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,
 4                                                     CASE NO. 1:21-CR-00115-DAD-BAM
                                 Plaintiff,
 5
                           v.                          ORDER TO UNSEAL INDICTMENT
 6
     WESLEY TSUKAMOTO et al.,
 7
                                Defendant.
 8

 9

10          Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the redacted
11 version of the Indictment filed on April 29, 2021, and docket pertaining to defendant Antoinette Mager,

12 be unsealed and become public record.

13
     IT IS SO ORDERED.
14

15      Dated:    May 10, 2021                              /s/
16                                                   UNITED STATES MAGISTRATE JUDGE

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      MOTION AND PROPOSED ORDER TO UNSEAL              2
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